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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF OKLAHOMA

THE CHEROKEE NATION,                        )
THE CHICKASAW NATION, and                   )
THE CHOCTAW NATION,                         )
                                            )
      Plaintiffs,                           )
                                            )
THE CITIZEN POTAWATOMI NATION,              )
THE MUSCOGEE (CREEK) NATION,                )   No. CIV-19-1198-D
THE QUAPAW NATION,                          )
THE DELAWARE NATION,                        )
THE SEMINOLE NATION, and                    )
THE WICHITA AND AFFILIATED TRIBES, )
                                            )
      Plaintiffs-in-Intervention,           )
                                            )
v.                                          )
                                            )
J. KEVIN STITT, in his official capacity as )
the Governor of the State of Oklahoma,      )
                                            )
      Defendant/Counterclaimant.            )
                                            )

PLAINTIFFS CHEROKEE NATION, CHICKASAW NATION, AND CHOCTAW
 NATION AND PLAINTIFFS-IN-INTERVENTION CITIZEN POTAWATOMI
 NATION, DELAWARE NATION, MUSCOGEE (CREEK) NATION, QUAPAW
 NATION, AND WICHITA AND AFFILIATED TRIBES’ MOTION FOR FINAL
     JUDGMENT ON RENEWAL CLAIMS AND BRIEF IN SUPPORT
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                                     INTRODUCTION

          Pursuant to Federal Rule of Civil Procedure 54(b), the Plaintiffs Cherokee Nation,

Chickasaw Nation, and Choctaw Nation, and Plaintiffs-in-Intervention Citizen Potawatomi

Nation, Delaware Nation, Muscogee (Creek) Nation, Quapaw Nation, and Wichita and

Affiliated Tribes (collectively, “Nations”), hereby respectfully request that this Court

certify that its Partial Summary Judgment Order of July 28, 2020, ECF No. 149, is a final

judgment on all claims related to renewal of the Nations’ Compacts, and all claims and

counterclaims made by and against Plaintiffs and Plaintiffs-in-Intervention, except for

Counts XIII and XIV brought by the Wichita and Affiliated Tribes (“Wichita Tribe”) in its

First Amended Complaint, see ECF No. 103 at 53-56, ¶¶ 201-210, Defendant’s claim and

related prayer for relief that the Wichita Tribe “fail[ed] to remit all substantial exclusivity

fees owed to the State pursuant to Part 11.A. of the Wichita Gaming Compact,” see ECF

No. 109 at 54, ¶ 54; id. at 57, ¶ 70, and Defendant’s and Wichita Tribe’s requests for

attorney’s fees and costs, see, e.g., id. at 58, ¶ 76; ECF No. 103 at 58, ¶ 3. The Nations

also respectfully request that this Court determine that there is no just reason for delay in

entering final judgment with respect to all claims finally resolved by the Order of July 28,

2020, ECF No. 149.

          Counsel for the Nations have discussed this filing with counsel for Defendant.

Counsel for Defendant has represented that Defendant does not oppose Rule 54(b)

certification consistent with his Notice of August 7, 2020, ECF No. 151. Defendant will

clarify his position on the relief requested here and the scope of certification in a subsequent

filing.

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          For the reasons described below, the Court should grant the Nations’ requested

relief.

                                       BACKGROUND

          On April 23, 2020, the Court issued an order directing the parties to

          simultaneously file cross-motions for partial summary judgment on the issue
          of whether the Tribal Gaming Compact entered between each Plaintiff or
          Intervenor and the State of Oklahoma automatically renewed or terminated
          pursuant to Part 15.B. The parties shall include in their respective motions
          any and all grounds related to the renewal/termination issue on which they
          seek a declaratory judgment in their favor.

ECF No. 122 at 2. Thereafter, the parties filed their motions and briefs, ECF Nos. 125,

125-1, 126, 128, and response briefs, ECF Nos. 140, 141, 142, 145, 146. On July 28, 2020,

the Court issued its Partial Summary Judgment Order, ECF No. 149, finding that the

“Plaintiffs’ and Intervenors’ Compacts with the State of Oklahoma automatically renewed

for an additional 15-year term on January 1, 2020, by operation of the unambiguous terms

of Part 15(B),” id. at 9. In that Order, the Court also directed the parties to “inform the

Court by filing written notices not later than August 7, 2020, regarding what issues remain

for decision, if any, under the existing pleadings.” Id. at 10.

          As the Parties’ filings in response to that Order show, all of the Nations’ claims

regarding Compact renewal and their right to conduct Class III gaming under the

Compacts, including the Defendant’s counterclaims relating to these issues, were fully

resolved by the Court’s Partial Summary Judgment Order. We refer to these fully resolved

claims as the “Renewal Claims.”




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       The Parties’ filings also reflect agreement that certain claims asserted only by the

Wichita Tribe (Counts XIII and XIV of the Wichita Tribe’s Amended Complaint) and

responsive counterclaims asserted by the Defendant only against the Wichita Tribe were

not resolved by the Partial Summary Judgment Order. We refer to these remaining issues

as the “Exclusivity Claims.”

                                       ARGUMENT

I.     The Partial Summary Judgment Order Resolved All Claims That the
       Compacts Renewed or Terminated and That the Nations Have a Federal-Law
       Right to Conduct Class III Gaming Under the Compacts.

       On August 7, the Nations and the Defendant filed notices “regarding what issues

remain[ed] for decision, if any, under the existing pleadings.” Id.; see ECF Nos. 150, 151,

152 (“August 7 Notices”). The Parties’ filings indicate agreement that the Renewal Claims

had, or likely had, been resolved. Specifically, the Nations said the Court’s Partial

Summary Judgment Order “resolved all of the [Nations’] claims concerning the renewal or

termination of the Compacts.” ECF No. 150 at 2.1 Defendant agreed the Nations’ claims

that the Compacts renewed were resolved, ECF No. 151, at 1-2, and said the Nations’

claims that they have a federal right to conduct Class III gaming and that Defendant’s

actions contrary to the Nations’ rights were void may have been “resolved by implication

in the Order,” id. at 2-3. As the pleadings show, all these claims were necessarily resolved

by the Court’s Partial Summary Judgment Order, which resolved all issues and claims in


1
  The Wichita Tribe joined in the Notice filed by the other Plaintiffs and Intervenors and
also filed a separate Notice, reiterating its belief that the Court’s resolution of the Compact
renewal issue was final and should be certified under Rule 54(b) and describing its
remaining claims. ECF No. 152.

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the case relating to the renewal of the Compacts, including, necessarily, those premised on

the Defendant’s contention that the Compacts had not renewed.

          In the Complaint that initiated this case, the Plaintiffs sought “a declaratory

judgment of the legal effect of the ‘shall automatically renew’ clause of Part 15.B. of a

Tribal-State gaming compact . . . that the State of Oklahoma . . . offered to federally

recognized Indian Tribes in 2004.” ECF No. 1 at 1 ¶ 1. Plaintiffs emphasized that “the

single question on which this complaint seeks declaratory relief is whether the Compact

‘shall automatically renew’ on January 1, 2020 under Part 15.B.,” id. at 2 ¶ 3, and only

requested that the Court issue a declaratory judgment that: Plaintiffs possess a federal-law

right to game under their renewed Compacts; the Compacts “shall automatically renew”

on January 1, 2020 if the conditions for renewal were met; the conditions for renewal were

actually met; the Compacts would renew on January 1, 2020 for another fifteen-year term;

and Defendant had no right to interfere with the Plaintiffs’ conduct of gaming under those

Compacts, id. at 21. Because the Indian Gaming Regulatory Act (“IGRA”) establishes that

tribes have a federal-law right to engage in gaming pursuant to tribal-state compacts that

comport with IGRA, 25 U.S.C. § 2710(d)(2)(C); Citizen Potawatomi Nation v. Oklahoma,

881 F.3d 1226, 1239 n.17 (10th Cir. 2018), if the Compacts renewed, it would entirely

resolve the Plaintiffs’ claims and determine whether they were entitled to the requested

relief.

          The same is true for the other Nations’ complaints-in-intervention raising the

renewal issue. When each Plaintiff-in-Intervention that remains in the case intervened, it

asserted that the Compacts had renewed and sought the same declaratory relief as the

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Plaintiffs. See ECF No. 29 at 14-18 (Citizen Potawatomi Nation making renewal claim

and seeking declaratory judgment); ECF No. 30 at 1, ¶ 1 (Muscogee (Creek) Nation

adopting the averments and authorities of Plaintiffs’ complaint); id. at 4-5 (making renewal

claim and seeking declaratory judgment); ECF No. 62 at 2, ¶ 1 (Quapaw Nation adopting

the averments and authorities of Plaintiffs’ complaint); id. at 6-8 (making renewal claim

and seeking declaratory judgment); ECF No. 68 at 1-2, ¶ 1 (Delaware Nation adopting the

averments and authorities of Plaintiffs’ complaint); id. at 5-8 (making renewal claim and

seeking declaratory judgment); ECF No. 74 at 1-2 (Seminole Nation adopting the

averments and authorities of Plaintiffs’ complaint); id. at 4-6 (making renewal claim and

seeking declaratory judgment); ECF No. 103 at 15-53, ¶¶ 52-200 (Wichita Tribe’s

allegations of renewal); id. at 56-58, ¶¶ 1(a)-(b), 2 (seeking declaratory relief on renewal

and joining other Plaintiffs and Plaintiffs-in-Intervention’s prayers for declaratory relief).

As with the Plaintiffs’ claims and relief sought, these claims and prayers for relief would

be entirely resolved by a ruling that the Compacts had renewed.

       In the August 7 Notices, the Parties also agreed that Defendant’s counterclaims

relating to renewal, including those premised on Defendant’s claim that the Compacts had

not renewed, had been resolved. See ECF No. 150 at 2; ECF No. 151 at 4 (stating

Defendant “requested relief in [his] counterclaims similar to that requested by the various

tribes” and “[t]hese claims for relief are resolved in the order”); ECF No. 152 at 1. The

pleadings confirm that is so. Defendant’s Answer, filed after the renewal date, asserted

counterclaims against the Plaintiffs alleging that their Compacts had not renewed on

January 1, 2020, and that the Plaintiffs’ conduct of Class III gaming in the absence of valid

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gaming Compacts violated federal and state law and Oklahoma’s sovereignty. ECF No.

15 at 37-39, ¶¶ 64-73. Defendant sought relief on those claims in the form of a judicial

declaration that the Compacts did not automatically renew and that the Plaintiffs’ conduct

of gaming is illegal, an injunction prohibiting the Nations from conducting Class III

electronic gaming until they had effective Class III compact, and a constructive trust on

their Class III gaming revenue “to prevent the Tribes from being unjustly enriched in the

absence of an effective gaming compact by and between the Tribes and Oklahoma.” Id. at

39, ¶¶ 74-77. As with Plaintiff’s claims, these counterclaims were all resolved, and the

relief they sought is necessarily foreclosed, by the Court’s determination that the Compacts

had renewed – since that determination establishes that the Nations have a federal-law right

to conduct gaming pursuant to their renewed Compacts and to obtain revenue from that

gaming.

       Defendant’s answers to each complaint-in-intervention raised the same

counterclaims and asked for the same relief as he had against Plaintiffs. ECF No. 87 at 31-

33, ¶¶ 60-73 (counterclaims against Citizen Potawatomi Nation); ECF No. 88 at 22-25,

¶¶ 55-68 (counterclaims against Muscogee (Creek) Nation); ECF No. 98 at 24-27, ¶¶ 62-

75 (counterclaims against Quapaw Nation); ECF No. 105 at 25-27, ¶¶ 59-72 (counterclaims

against Delaware Nation); ECF No. 107 at 23-26, ¶¶ 62-75 (counterclaims against

Seminole Nation); ECF No. 109 at 55-57, ¶¶ 60-69, 71-74 (counterclaims against Wichita

Tribe).2 As with his claims against the Plaintiffs, these claims were entirely resolved by


2
  Defendant also sought disgorgement of the Wichita Tribe’s revenue earned from Class
III gaming after January 1, 2020, ECF No. 109 at 57, ¶ 75, which request apparently derived

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the Court’s determination that the Compacts renewed. The Order established that all the

Plaintiffs-in-Intervention have valid Compacts; they are, therefore, legally conducting

gaming pursuant to those Compacts and have a right to keep the revenues earned from such

gaming.

       Thus, the Renewal Claims have been fully resolved by the Partial Summary

Judgment Order, leaving only the Wichita Tribe’s Exclusivity Claims (and related

counterclaims by Defendant against the Wichita Tribe) remaining.

       As Defendant and the Wichita Tribe indicate in their Notices, see ECF No. 151 at

3-4; ECF No. 152 at 2-3, the only remaining issues in the case are claims asserted by the

Wichita Tribe in its First Amended Complaint, and a responsive allegation and related

prayer for relief by Defendant in his Answer and Counterclaims to that First Amended

Complaint – claims that deal with the question of exclusivity to conduct gaming under the

Compacts, including the payment due for that exclusivity, not the renewal of those

Compacts.3 In Count XIII of its First Amended Complaint, the Wichita Tribe alleged that

the State violated the exclusivity provisions of Part 11.A. of the Compact and that, as a

result, the Wichita Tribe is relieved from the obligation to pay exclusivity fees under Part




from his allegation that the Compacts expired on January 1, 2020 and tribal Class III
revenue earned after that date was earned illegally. The Court’s determination that the
Compacts renewed resolved Defendant’s disgorgement claim.
3
  Defendant and the Wichita Tribe also asked for attorney’s fees and costs. See, e.g., ECF
No. 15 at 39, ¶ 78; ECF No. 103 at 58, ¶ 3. Parties may seek fees and costs by motion up
to 14 days after entry of final judgment. Fed. R. Civ. P. 54(d)(2)(B)(i); LCvR 54.1, 54.2.
Thus, the pendency of the claims for fees and costs does not prevent the Court from
certifying a final judgment.

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11.A and the State owes the Wichita Tribe liquidated damages under Part 11.E. of the

Compact. ECF No. 103 at 53-55, ¶¶ 201-205. In Count XIV, the Wichita Tribe alleged

the Defendant failed to satisfy the State’s obligation under the Compact, and his own

obligation under the Oklahoma Constitution, to defend the validity of the Compact. Id. at

55-56, ¶¶ 206-210, and sought a declaratory judgment to that effect, id. at 57, ¶ 1(c)-(e).

In his counterclaim against the Wichita Tribe, Defendant alleged the Wichita Tribe had not

remitted all substantial exclusivity fees to the State owed before January 1, 2020, ECF No.

109 at 54, ¶ 54, and sought a declaration that the Wichita Tribe had thereby breached Part

11.A. of the Compact, id. at 57, ¶ 70. As described below, these claims are separate from

the renewal claims; accordingly, the Court should certify that the renewal claims have been

disposed of by a final judgment.

II.      The Court Should Certify that the Renewal Claims Were Disposed of by a Final
         Judgment.

         Under Federal Rule of Civil Procedure 54(b), “[w]hen an action presents more than

one claim for relief—whether as a claim, counterclaim, crossclaim, or third-party claim—

or when multiple parties are involved, the court may direct entry of a final judgment as to

one or more, but fewer than all, claims or parties only if the court expressly determines that

there is no just reason for delay.” To certify an order as final, a court must “make two

explicit determinations.” New Mexico v. Trujillo, 813 F.3d 1308, 1316 (10th Cir. 2016);

see also Continental Materials Corp. v. Valco, Inc., 740 F. App’x 893, 896 (10th Cir.

2018).




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       First, the court must determine that the judgment is final. “To be final for purposes

of Rule 54(b), an order must be ‘final in the sense that it is an ultimate disposition of an

individual claim entered in the course of a multiple claims action.’” Jordan v. Pugh, 425

F.3d 820, 826 (10th Cir. 2005) (quoting Curtiss-Wright Corp. v. GE Co., 446 U.S. 1, 7

(1980) (internal quotation marks omitted)). “[A] judgment is not final for the purposes of

Rule 54(b) unless the claims resolved are distinct and separable from the claims left

unresolved.” Okla. Tpk. Auth. v. Bruner, 259 F.3d 1236, 1243 (10th Cir. 2001). Second,

the court must determine “there is no just reason for delay of entry of its judgment.”

Trujillo, 813 F.3d at 1316; accord Valco, 740 F. App’x at 896. “In making these

determinations, the district court should act as a ‘dispatcher’ weighing Rule 54(b)’s policy

of preventing piecemeal appeals against the inequities that could result from delaying an

appeal.” Stockman’s Water Co. v. Vaca Partners, L.P., 425 F.3d 1263, 1265 (10th Cir.

2005) (quoting Curtiss-Wright Corp., 446 U.S. at 8). “Factors the district court should

consider are ‘whether the claims under review [are] separable from the others remaining to

be adjudicated and whether the nature of the claims already determined [are] such that no

appellate court would have to decide the same issues more than once even if there were

subsequent appeals.’” Id. (quoting Curtiss-Wright Corp., 446 U.S. at 8) (alterations in

original).

       The Court should certify the Partial Summary Judgment Order as a final judgment

because the order meets both elements of this test. The Order was final as to the Renewal

Claims because it found that the Compacts renewed, ultimately disposing of all claims

based on the renewal or alleged termination of the Compacts. Also, there is no just reason

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for delay. The balancing of factors in the application of this test shows that the Renewal

Claims decided by the Partial Summary Judgment Order are entirely separable from the

remaining Exclusivity Claims, and if this Court’s certification led to separate appeals, the

appellate court would not have to decide the same issues to dispose of the appeals.

       A.     The Court’s Partial Summary Judgment Order Was Final.

       A judgment is “final” when it is “an ultimate disposition of an individual claim

entered in the course of a multiple claims action.” Curtiss-Wright Corp., 446 U.S. at 7.

When the Court decided that the Compacts renewed under the terms of Part 15.B., it

ultimately disposed of the Nations’ claims that the Compacts renewed, that the Nations

have a right to conduct Class III gaming under their Compacts, that those rights are

protected by IGRA from interference caused by Defendant’s claims that their gaming is

not legal, and that the Nations are entitled to a declaration to that effect. See, e.g., ECF No.

1 at 19-20, ¶¶ 67-79; id. at 21, ¶ 1. It also disposed of all Defendant’s counterclaims that

the Nations are violating federal and state law because their Compacts did not renew and

that they are allegedly conducting gaming that is not authorized by a compact, see, e.g.,

ECF No. 15 at 36-39, ¶¶ 55-72, and his requests for declarations to that effect, see, e.g., id.

at 39, ¶¶ 74-75. The Court’s Order also mooted Defendant’s counterclaims and claims for

relief that would prevent the Nations from conducting gaming or collecting revenue from

it, as those contentions were all grounded in Defendant's claim that the compacts had not

renewed. See, e.g., id. at 38-39, ¶¶ 72-73, 76-77. Therefore, the Court’s order resolved all

elements of the case that were legally dependent on the issue of renewal under Part 15.B.




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of the Compacts for their vitality. See Bruner, 259 F.3d at 1242 (“[A] ‘claim’ is generally

understood to include all factually or legally connected elements of a case.”).

       The Exclusivity Claims do not affect the finality of the Renewal Claims, which were

resolved by the Partial Summary Judgment Order. The Partial Summary Judgment Order

resolved the fundamental question of whether or not the Compacts still exist. In contrast,

the Wichita Tribe’s claims against the Defendant, and the Defendant’s counterclaims

against the Wichita Tribe, are primarily concerned with the exclusivity provisions of the

Wichita Tribe’s Compact and the obligations arising therefrom – they are therefore distinct

legal claims, which are not asserted by or against the other Nations as part of this litigation.4

       In its Count XIII and related prayers for relief, the Wichita Tribe alleged that the

State violated the exclusivity provisions of Part 11.A. of the Compact, see Okla. Stat. tit.

3A, § 281, and sought related declaratory relief regarding its obligation to pay fees to the

State under Part 11.E. of the Compact. ECF No. 103 at 53-55, ¶¶ 201-205; id. at 57, ¶ 1(d)-

(e). In contrast, the Renewal Claims are governed by Part 15.B. of the Compact, the terms

of which require a different inquiry to determine whether that Part of the Compact has been

triggered.   See Curtiss-Wright Corp., 446 U.S. at 8 (court should consider whether




4
  The Wichita Tribe’s claim in Count XIV that Defendant failed to defend the validity of
the Compact as required under Part 13.B., see ECF No. 103 at 55-56, ¶¶ 206-210; id. at 57,
¶ 1(c), does not relate to exclusivity. But, like the Exclusivity Claims, it also has nothing
to do with renewal under Part 15.B, because it has no relationship to the question of whether
the State authorized gaming to be conducted on January 1, 2020 by a governmental action
following the effective date of the Compact.

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adjudicated claims are separable from those remaining in case and certification would

require appellate court “to decide the same issues more than once”).

       Part 15.B. provides that the Compact term renews on January 1, 2020 if the

following condition is met: “at that time, . . . organization licensees or others are authorized

to conduct electronic gaming in any form other than pari-mutuel wagering on live horse

racing pursuant to any governmental action of the state or court order following the

effective date of this Compact.” In contrast, Part 11.A. addresses the substantial exclusivity

fees that, if the Compact is in effect, the signatory tribe is required to pay:

       so long as the state does not change its laws after the effective date of this
       Compact to permit the operation of any additional form of gaming [other
       than covered games] by any such organization licensee, or change its laws to
       permit any additional electronic or machine gaming within Oklahoma.

In sum, Part 15.B. is triggered when the State takes a “governmental action” to authorize

electronic gaming in any form other than pari-mutuel horse track wagering, while Part

11.A. is operative only if the Compact is in effect and is triggered if the State “change[s]

its laws” to permit organization licensees to conduct games other than “covered games” as

that term is defined in the Compact, see Compact Part 3.5., or “any additional electronic or

machine gaming within Oklahoma,” id. Part 11.A.

       As the Court determined in its Partial Summary Judgment Order, “governmental

action” under Part 15.B. does not only mean state legislative action. ECF No. 149 at 8-9.

The Court further held that the State took such “governmental action” by issuing licenses

allowing organization licensees to conduct gaming that was already authorized by the

State-Tribal Gaming Act, not by passing legislation. Id. at 9. That governmental action


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did not change the State’s laws, and thus plainly would not trigger Part 11.A. Thus, the

legal question of whether the State has taken an action triggering Part 15.B., which has

already been resolved, is distinct from the question of whether the State has taken an action

triggering Part 11.A.5

       Under Part 11.E., which is also the subject of the Wichita Tribe’s Count XIII, the

State must pay liquidated damages to the signatory tribe if, “during the term of this

Compact,” the State “permit[s] the nontribal operation of any machines or devices to play

covered games or electronic or mechanical gaming devices otherwise presently prohibited

by law within the state in excess of the number and outside of the designated locations

authorized by the State-Tribal Gaming Act.” Thus, Part 11.E. requires that the Compact

be in effect, and is triggered if the State “permit[s] the nontribal operation” of certain

gaming by any nontribal entity that is “otherwise presently prohibited by law” in a number

and at locations not authorized by the State-Tribal Gaming Act. In contrast, the Court

determined that renewal under Part 15.B. occurs if the State authorizes the conduct of

gaming that is presently expressly authorized by the State-Tribal Gaming Act. ECF No.

149 at 9. These are distinct legal questions.

       In sum, the Renewal Claims under Part 15.B. are fundamentally different from the

Exclusivity Claims under Parts 11.A. and E. The Renewal Claims asserted by all Plaintiffs




5
  Defendant’s counterclaims against the Wichita Tribe relating to payment of exclusivity
fees before January 1, 2020, see ECF No. 109 at 54, ¶ 54, and his related prayer for relief,
id. at 57, ¶ 70, are, as with the other Exclusivity Claims, distinct from the Renewal Claims
resolved by the Partial Summary Judgment Order.

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allege that the Compacts renewed. The Exclusivity Claims asserted by the Wichita Tribe

allege the State has violated its exclusivity obligations under a live and operational

Compact. Resolving the questions of whether Parts 11.A. or 11.E. have been triggered also

involves distinctly different inquiries, for distinctly different purposes, than those already

decided under Part 15.B.

       Therefore, the Exclusivity Claims remaining in the case are not “so intertwined”

and do not “have so much factual overlap[] as to be inseparable” from the Renewal Claims.

Bruner, 259 F.3d at 1243. The former are instead so factually and legally distinct from the

latter that the pendency of the Exclusivity Claims does not affect the finality of the Court’s

decision on the Renewal Claims. Certification is justified under the first factor because the

Renewal Claims are “distinct and separable from the claims left unresolved,” id.

       B.      There is No Just Reason for Delay.

       “Once having found finality, the district court must go on to determine whether there

is any just reason for delay. . . . It is left to the sound judicial discretion of the district court

to determine the ‘appropriate time’ when each final decision in a multiple claims action is

ready for appeal.” Curtiss-Wright Corp., 446 U.S. at 8. “The purpose of Rule 54(b) ‘is to

avoid the possible injustice of a delay in entering judgment on a distinctly separate claim

or as to fewer than all of the parties until the final adjudication of the entire case by making

an immediate appeal available.’” Bruner, 259 F.3d at 1241 (quoting 10 Charles A. Wright

et al., Federal Practice and Procedure: Civil 2d § 2654 at 33 (2d ed. 1982)). More

specifically, district courts enter Rule 54(b) orders “to provide a recourse for litigants when

dismissal of less than all their claims will create undue hardships.” Id. at 1242 (quoting

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Gas–A–Car, Inc. v. Am. Petrofina, Inc., 484 F.2d 1102, 1105 (10th Cir. 1973)) (internal

quotation mark omitted).

       In this case, delaying certification would result in undue hardship and inequity.

First, delay would sideline all but one of the Nations while claims they have not sought to

adjudicate – namely, the Exclusivity Claims – are litigated. Second, certifying the Court’s

Partial Summary Judgment Order regarding the Renewal Claims as a final judgment now

would benefit both the Nations and the Defendant. Doing so would promote stability in

Oklahoma tribal gaming – from which the State receives revenue sharing payments -- and

hasten the ultimate resolution of that question in the event of an appeal. That benefits not

only the Nations, but also the State and the people of Oklahoma.

       Finally, the Nations brought this suit in part to resolve the cloud of uncertainty

arising from the Defendant’s claims regarding Compact renewal and the lawfulness of

Class III Indian gaming.6 Indeed, Defendant premised his demand that a new compact be



6
  See Storme Jones, Stitt: Gambling “Illegal” if Gaming Compact Agreement Not Made,
News9        (Dec.     17,     2019      8:15      PM),      https://www.news9.com/story/
5e346b57527dcf49dad6cba3/stitt:-gambling-illegal-if-gaming-compact-agreement-not-
made (“Governor Kevin Stitt said class three gaming, like slot machines, blackjack, craps
and roulette, will become illegal January 1 if tribes don’t agree to a compact extension.”);
Sean Murphy, 3 Tribes in Oklahoma Sue Governor Over Casino Gambling, ABC News
(Dec. 31, 2019, 4:54 PM), https://abcnews.go.com/Business/wireStory/tribes-oklahoma-
sue-governor-casino-gambling-68008517 (“Oklahoma's new Republican Gov. Kevin Stitt
contends the gaming compacts expire on Jan. 1 and that casino gambling after that date
will be illegal.”); Tribal Leaders File Federal Lawsuit to End Uncertainty by Tribal
Gaming Compact, Okla.’s News 4 (Dec. 31, 2019 3:30 PM) https://kfor.com/news/tribal-
leaders-file-federal-lawsuit-to-end-uncertainty-about-tribal-gaming-compact/           (“On
Tuesday, officials announced that the Cherokee, Chickasaw, and Choctaw Nations filed a
federal lawsuit ‘to bring an end to the uncertainty Oklahoma Governor J. Kevin Stitt has
attempted to cast over Tribal gaming operations.’”).

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negotiated on supposed uncertainty and illegality that would result if such negotiations did

not begin and conclude by January 1, 2020.7 Defendant’s actions caused sufficient

uncertainty among the Nations’ lenders, vendors, and patrons to prompt this litigation.8

The Court’s Partial Summary Judgment Order resolved these issues and should be certified

as a final order so that these issues are put to rest.

                                       CONCLUSION

       For the foregoing reasons, the Nations respectfully request the Court certify its

Partial Summary Judgment Order as a final judgment on all claims in the case, except for:

the Wichita Tribe’s Counts XIII and XIV, ECF No. 103 at 53-56, ¶¶ 201-210, and

associated prayers for relief; Defendant’s allegation and prayer for relief in Paragraphs 54

and 70 of his Counterclaims to the Wichita Tribe’s First Amended Complaint, ECF No.

109 at 54, 57; and Defendant’s and Wichita Tribe’s requests for attorney’s fees and costs,

see, e.g., ECF No. 109 at 58, ¶ 76; ECF No. 103 at 58, ¶ 3.

Respectfully submitted,




7
   See Hicham Raache, Gov. Stitt Files Response in Court to Tribal Gaming Compacts
Lawsuit, Okla.’s News 4 (Jan. 22, 2020 8:32 PM), https://kfor.com/news/gov-stitt-files-
response-in-court-to-tribal-gaming-compacts-lawsuit/ (“‘We do not want gaming to be
illegal, and we do not want vendors to be operating illegally,’ Stitt said last month.”); Tres
Savage, Dueling Pressers: Stitt, Tribes Talk Gaming Negotiations, NonDoc (Nov. 14,
2019),     https://nondoc.com/2019/11/14/stitt-tribes-talk-gaming-negotiations/        (“‘This
compact was signed 15 years ago, and the fact is it expires on Jan. 1, 2020,’ Stitt said. ‘This
is going to cause extreme uncertainty if we don’t have a new compact by 2020.’”).
8
 See Jenelle Stecklein, State Businesses in Limbo with Tribes’ Gaming Compact Impasse,
Enid News & Eagle (Dec. 26, 2019), https://www.enidnews.com/news/state/state-
businesses-in-limbo-with-tribes-gaming-compact-impasse/article_b79fc87a-f11c-5504-
be97-34f451c6def7.html.

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                              CERTIFICATE OF SERVICE

       I hereby certify that on August 28, 2020, I electronically filed the above and

foregoing document with the Clerk of Court via the ECF System for filing. Based on the

records currently on file, the Clerk of the Court will transmit a Notice of Electronic Filing

to the parties registered to receive such notice.


                                               /s/ Frank S. Holleman
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